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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Northern District
                                                     __________  District of
                                                                          of Georgia
                                                                             __________

 RACHAEL O. LUCKY, DIVINE N. LUCKY, FAVOUR                             )
       C. LUCKY, & ISIOMA L. LUCKY                                     )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                            Civil Action No.
                                                                       )
UR MENDOZA JADDOU, Director of U.S. Citizenship                        )
 and Immigration Services, and MICAH R. BROWN,                         )
Director of U.S. Citizenship and Immigation Services                   )
                 Atlanta Field Office.                                 )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Ryan K. Buchanan
                                           U.S. Attorney, Northern District of Georgia
                                           Attn: Civil Process Clerk, USAO-ND GA
                                           U.S. Court House
                                           75 Ted Turner Drive SW
                                           Suite 600
                                           Atlanta, GA 30303-3309

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: H. Glenn Fogle
                                           The Fogle Law Firm LLC
                                           75 14th St. NE, Ste. 3050
                                           Atlanta, GA 30309



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:
                                                                                           Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)    Ryan K. Buchanan,U.S. Attorney, Northern Dist. of GA
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $             0.00          for travel and $       0.00       for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                             Server’s signature



                                                                                         Printed name and title

                                                                                     The Fogle Law Firm LLC
                                                                                     75 14th St. NE, Ste. 3050
                                                                                        Atlanta, GA 30309
                                                                                             Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
